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                                                                                                UNITED STATES DISTRICT COURT
                                                                                                EASTERN DISTRICT OF MICHIGAN
                                                                                                     SOUTHERN DIVISION

                                                                       YAACOV APELBAUM, a New York resident, and
                                                                       XRVISION, LTD., a New York corporation,

                                                                                                  Plaintiffs,                    Case No. 2:23-cv-11718-SJM
                                                                                                                                 Hon. Stephen J. Murphy

                                                                       -v-

                                                                       STEFANIE LAMBERT, a Michigan resident, and
THE LAW FIRM OF MICHAEL J. SMITH AND ASSOCIATES, PLLC (586) 254-0200




                                                                       THE LAW OFFICE OF STEFANIE L. LAMBERT,
                                                                       PLLC, a Michigan Professional Limited Liability Company
                                                                       And BILL BACHENBERG, a Pennsylvania resident,

                                                                                                 Defendants.
                                                                       _____________________________________________________________________________/
                                                                       THE LAW FIRM OF MICHAEL J. SMITH                BURNS LAW FIRM
                                                                       AND ASSOCIATES, PLLC                            John C. Burns
                                                                       Michael J. Smith (P36706)                       Attorney for Plaintiffs
                                                                       Jamal R. Harris (P63835)                        PO Box 191250
                                                                       70 Macomb Place Suite 200                       St. Louis, Missouri 63119
                                                                       Mt. Clemens, MI 48043                           P: (314) 329-5040
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                                                                       STUART LAW, PLC
                                                                       Todd A. Stuart
                                                                       Attorneys for Plaintiffs
                                                                       429 NW Turner Ave.
                                                                       Grand Rapids, MI 49504
                                                                       P: 616-284-1658
                                                                       tstuart@stuartlawplc.com
                                                                       _____________________________________________________________________________/


                                                                             DEFENDANT’S BILL BACHEBERG’S REQUEST FOR PRODUCTION OF
                                                                                                      DOCUMENTS
                                                                             NOW COMES Defendant BILL BACHENBERG, by and through his attorneys, THE

                                                                       LAW FIRM OF MICHAEL J. SMITH AND ASSOCIATES, PLLC, pursuant to Fed.R.Civ.P.

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                                                                       34, and for it’s First Request for Production of Documents addressed to Plaintiffs, hereby

                                                                       requests Plaintiffs produce the following documents and things as follows:



                                                                                                       GENERAL INSTRUCTIONS

                                                                               The following general instructions shall govern the interpretation and responses made

                                                                       to the Requests for Production:

                                                                               1.      The information sought herein must be given whether secured by Plaintiff’s
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                                                                       employee(s), representative(s), agent(s), and/or attorney(s), or by any other person having

                                                                       knowledge and from whom Plaintiff can get this information, and who is competent to testify

                                                                       to the facts stated.

                                                                               2.      These Requests for Production are deemed continuing, and Plaintiff is

                                                                       requested to provide, by way of supplementary responses, such additional information as may

                                                                       thereafter be obtained by Plaintiff or any other person on Plaintiff’s behalf which will

                                                                       supplement and/or modify any responses now given to these Requests for Production.

                                                                               3.      Words importing the singular shall be construed to include the plural, and words

                                                                       importing the plural shall be construed to include the singular.

                                                                               4.      The phrases conjunctive shall be construed to include the disjunctive, and any

                                                                       phrases in the disjunctive shall be construed to include the conjunctive.

                                                                               5.      Any objection to any Request for Production or to any type or category of

                                                                       materials shall state specifically, as to each document or item, the reason for the objection and

                                                                       shall identify, by author, title, date, and subject matter, each individual document subject to

                                                                       objection.




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                                                                                 6.    You are cautioned to omit nothing by way of information or detail; Defendant

                                                                       will assume that, where documents are neither identified nor produced, nor other information

                                                                       stated, such do not exist and when detail is missing, it cannot be provided, and Defendant will

                                                                       urge the Court to rule that Plaintiff cannot use, in any manner in relation to this action, any

                                                                       information or detail not furnished in Plaintiff’s Responses or in responsive documents.

                                                                                 7.    Materials responsive to these Requests for Production which have been lost or

                                                                       destroyed shall be identified with particularity, including the date, last known location, and the
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                                                                       last person in custody or control, and the reason for the materials’ loss or destruction shall be

                                                                       stated.

                                                                                 8.    Materials called for by these Requests for Production include all responsive

                                                                       items, regardless of whether they have been superseded, amended, revised, rewritten, redrafted,

                                                                       rejected, or rendered obsolete.

                                                                                 9.    Materials or copies of materials otherwise identical shall be produced if they

                                                                       contain any communication, notion, or recording that does not appear on another copy or that

                                                                       does not appear on the original.

                                                                                 10.   In these Requests for Production, a general or categorical description of

                                                                       materials is in no way limited or qualified by specific items that are mentioned as examples of

                                                                       the general category. The enumeration of specific items is for illustrative purposes only and is

                                                                       not to be considered as a limitation.

                                                                                 11.   If there is any claim of privilege or work product in regard to any of the

                                                                       requested records, documents, or papers, please set forth fully in the objection the facts upon

                                                                       which Plaintiff relies as the basis for its objection; identify by author, title, date, and subject

                                                                       matter the documents or other items as to which any claim of privilege is made; and respond


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                                                                       to the Request For Production to the extent that it calls for information as to which Plaintiff

                                                                       does not claim a privilege.


                                                                                                               DEFINITIONS


                                                                              1.      As used herein, the term “documents” shall have its customary broad meaning

                                                                       of any and all written or graphic or printed matter of every kind and description, however
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                                                                       produced or reproduced, however stored or kept, whether draft or final, original, facsimile, or

                                                                       reproduction, in the actual or constructive possession, custody, and/or control of Plaintiff, or

                                                                       its attorneys, agents, employees, and/or representatives, and shall include, without limitation,

                                                                       the following items: correspondence, records, memoranda, notes, letters, telegrams, e-mails,

                                                                       electronic communications, schedules, tables, charts, reports, files, invoices, statements,

                                                                       orders, order forms, receipts, minutes, inter-office communications, messages (including

                                                                       reports of telephone conversations or conferences), notices, brochures, pamphlets, books,

                                                                       transcripts of any and all oral communications, contracts, agreements, test results, data, and all

                                                                       other materials similar to any of the foregoing, however denominated by Plaintiff. The term

                                                                       “documents” also includes such non-printed matter as voice recordings and reproductions, film

                                                                       impressions, digital images, photographs, videotapes, negatives, slides, microfilm, microfiche,

                                                                       voice discs, and all other things that document or record ideas, words, or impressions. The term

                                                                       “documents” further includes all punch cards, tapes, discs, recordings, storage materials, and

                                                                       all other items used in electronic data processing and/or storage, together with the

                                                                       programming instructions and other materials necessary to understand or use such punch cards,

                                                                       tapes, discs, or other recordings, and also includes data in electronic or other form that can be




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                                                                       printed out or reduced to readable or usable forms through proper programming or decoding

                                                                       of electronic or computer or other similar information.

                                                                               2.      As used herein, “Plaintiff” includes Plaintiff, Plaintiff’s attorneys, and

                                                                       Plaintiff’s representatives.

                                                                               3.      The term “occurrence” as used herein is defined to refer to the occurrence

                                                                       averred in the Complaint.

                                                                               4.      The term “photographs” is intended to include black and white or color
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                                                                       photographs, slides, prints of transparencies, digital or electronic images, videotapes, and/or

                                                                       motion pictures.

                                                                               5.      The phrase “documents relating to” is intended to refer to documents which, in

                                                                       whole or in part, relate to the designated category of information described.

                                                                                          REQUEST FOR PRODUCTION OF DOCUMENTS

                                                                       Request to Produce No. 1: Please produce the written agreement which you allege in

                                                                       Paragraph 21 of your Complaint evidences a One-million-dollar ($1,000,000) line of credit

                                                                       for Lambert and the PLLC.

                                                                       RESPONSE:



                                                                       Request to Produce No. 2: Please produce all documents which you contend establish,

                                                                       support, relate to or comprise the alleged damages sought by Plaintiff Yaacov Apelbaum

                                                                       individually as alleged in your Complaint.

                                                                       RESPONSE:




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                                                                       Request to Produce No. 3: Please produce all documents which you contend establish,

                                                                       support, relate to or compromise the alleged damages sought by Plaintiff XR Vision, Ltd. As

                                                                       alleged in your Complaint.

                                                                       RESPONSE:



                                                                       Request to Produce No. 4: Please produce a copy of the one payment (whether by check,

                                                                       wire, etc.) for one project received by you on December 29, 2021, as alleged in paragraph 29
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                                                                       of your complaint.

                                                                       RESPONSE:



                                                                       Request to Produce No. 5: For the period of time May 1, 2021, to June 30, 2021, please

                                                                       produce all engagement agreements, letter agreements and/or contracts between any Plaintiff

                                                                       and Defendant the Law Office Of Stefanie L. Lambert, PLLC and/or Defendant Stefanie L.

                                                                       Lambert.

                                                                       RESPONSE:



                                                                       Request to Produce No. 6: For the period of time May 1, 2021, to the present, produce all

                                                                       correspondence, e-mails, Electronically Stored Information and documents between any

                                                                       Plaintiff and Defendant The Law Office of Stefanie L. Lambert, PLLC and/or Defendant

                                                                       Stefanie L. Lambert.

                                                                       RESPONSE:




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                                                                       Request to Produce No. 7: For Text messages sent and/or received between the period of

                                                                       time May 1, 2021 to July 18, 2023, produce for inspection and copying your phone number

                                                                       so that all text messages between any Plaintiff and Defendants Stefanie Lambert, The Law

                                                                       Office Of Stefanie Lambert, The Law Office of Stefanie L. Lambert, PLLC and Bill

                                                                       Bachenberg may be copied and produce.

                                                                       RESPONSE:
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                                                                       Request to Produce No. 8: For the period of time May 1, 2021, to July 18, 2023, please

                                                                       produce a copy of all invoices, statements, correspondence, or documents requesting

                                                                       payment issued by Plaintiffs to any Defendant in this action.

                                                                       RESPONSE:



                                                                       Request to Produce No. 9: Please produce a copy of the Project Sampson document

                                                                       specifically referenced and incorporated into the March 8, 2022, agreement between XR

                                                                       Vision and the Defendant Law Office of Stefanie L. Lambert, PLLC.

                                                                       RESPONSE:



                                                                       Request to Produce No. 10: Please produce all documents provided by you to Defendant

                                                                       Bachenberg at the April 22, 2022, meeting you allege occurred at the April 22, 2022, meeting

                                                                       you allege occurred in Paragraph 47 of your Complaint.

                                                                       RESPONSE:




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                                                                       Request to Produce No. 11: Please produce all documents provided by you to Defendant

                                                                       Bachenberg at the April 22, 2022, meeting to discuss your Fulton County analysis as alleged

                                                                       by you in paragraph 48 of your Complaint.

                                                                       RESPONSE:



                                                                       Request to Produce No. 12: Please produce all your forensic analysis and all other documents

                                                                       related to the Fulton County analysis provided by you to Defendant Bachenberg on or about
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                                                                       June 22, 2022, as alleged in paragraph 51 of your Complaint.

                                                                       RESPONSE:



                                                                       Request to Produce No. 13: Please produce any written document in which you contend that

                                                                       Defendant Bachenberg guaranteed the payment of any portion of any Plaintiffs’ fees and

                                                                       costs.

                                                                       RESPONSE:



                                                                       Request to Produce No. 14: Please produce all documents which you contend support the

                                                                       allegations contained within paragraph 54 of your Complaint.

                                                                       RESPONSE:



                                                                       Request to Produce No. 15: Please produce all documents, text messages, Electronically

                                                                       Stored Information, and other communications which you contend support the allegations in

                                                                       paragraph 59 of your Complaint.

                                                                       RESPONSE:


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                                                                       Request to Produce No. 16: Please produce all contracts, subcontractor agreements, letter

                                                                       agreements, letters of intent, engagement agreements and all other documents relating to the

                                                                       Pennsylvania Senate which you contend support the allegation within paragraph 62 of the

                                                                       complaint.

                                                                       RESPONSE:
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                                                                       17. Request to Produce No. 17: Produce copies of all payments, whether by check, wire

                                                                       transfer or otherwise, of all payments you received in the amount of $200,000 for work on

                                                                       the Initial Antrim County Projects between May and December 2021 as alleged in paragraph

                                                                       32 of your complaint.

                                                                       RESPONSE:



                                                                       Request to Produce No. 18: Produce all documents which you contend support the

                                                                       allegations contained within paragraph 32 of your Complaint.

                                                                       RESPONSE:



                                                                       Request to Produce No. 19: Please produce all audio or voice recordings and/or audio files

                                                                       and related documents made by you of any phone or personal conversations between

                                                                       Defendant Bachenberg and yourself.

                                                                       RESPONSE:

                                                                       Request to Produce No. 20: Produce all witness statements made, taken, recorded by any

                                                                       Plaintiff and all other documents relative to any potential witness in this action.


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                                                                       RESPONSE:



                                                                       Request to Produce No. 21: Produce all documents, exhibits and summaries that you intend

                                                                       to use or introduce at the Trial of this action.

                                                                       RESPONSE:



                                                                                                                          THE LAW FIRM OF MICHAEL J. SMITH AND
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                                                                                                                          ASSOCIATES, PLLC

                                                                                                                          Respectfully submitted,


                                                                                                                          /s/ Michael J. Smith_________________________
                                                                                                                          Michael J. Smith (P36706)
                                                                                                                          Attorney for Bill Bachenberg
                                                                                                                          70 Macomb Place Suite 200
                                                                                                                          Mt. Clemens, Michigan 48043
                                                                                                                          (586) 254-0200
                                                                       Dated: September 20, 2024.




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